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                                       IN THE UNITED STATES DISTRICT COURT
                                        FOR THE WESTERN DISTRICT OF TEXAS
                                                  AUSTIN DIVISION

                JUSTIN RIDDLE,

                                       Plaintiff,
                v.                                                    Civil Action No. 1:25-cv-00073-ADA
                X CORP. formerly known as TWITTER, INC.,

                                       Defendant.

                     DEFENDANT X CORP.’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF
                             ITS MOTION TO DISMISS PLAINTIFF’S COMPLAINT

                I.     INTRODUCTION

                       Pursuant to Federal Rule of Evidence 201 and the incorporation-by-reference doctrine,

                Defendant X Corp. respectfully requests that the Court take judicial notice of, or in the alternative,

                incorporate by reference, the following documents for purposes of ruling on X Corp.’s Motion to

                Dismiss Plaintiff’s Complaint (“Motion”), filed concurrently:

                       -       Exhibit A, which is a true and correct copy of the version of X Corp.’s Terms of

                       Service that were effective from September 29, 2023 to November 14, 2024 (version 19;

                       “Relevant TOS), available at https://web.archive.org/web/20240531003626/x.com/en/tos

                       (last visited March 4, 2025), and attached as Exhibit A to the Declaration of Norma N.

                       Bennett (“Ex. 1, Bennett Declaration”);

                       -       Exhibit B, which is a true and correct copy of X Corp.’s Purchaser Terms of

                       Service (“Purchaser Terms”) that were effective from November 17, 2023 to May 13, 2024,

                       available                                                                                   at

                       https://web.archive.org/web/20240207113220/https:/legal.x.com/en/purchaser-terms.html

                       (last visited March 4, 2025), and attached as Exhibit B to the Bennett Declaration; and

                       -       Exhibit C, which is a true and correct copy of X Corp.’s Purchaser Terms that were




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                       effective     from      May      13,     2024      to      the    present,    available     at

                       https://web.archive.org/web/20240619141758/https:/legal.x.com/en/purchaser-terms.html

                       (last visited March 4, 2025), and attached as Exhibit C to the Bennett Declaration.

                II.    LEGAL STANDARD

                       Courts may take judicial notice of facts that are “not subject to reasonable dispute.” Fed.

                R. Evid. 201(b). Facts not subject to reasonable dispute are ones that (1) are “generally known

                within the trial court’s territorial jurisdiction” or (2) can be “accurately and readily determined

                from sources whose accuracy cannot reasonably be questioned.” Id. When ruling on a motion to

                dismiss, a court may consider material that is appropriate for judicial notice. Tellabs, Inc. v. Makor

                Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); Funk v. Stryker Corp., 631 F.3d 777, 783 (5th

                Cir. 2011).

                       In addition, under the incorporation-by-reference doctrine, a court ruling on a motion to

                dismiss also may consider “documents incorporated into the complaint by reference.” Funk, 631

                F.3d at 783.

                III.   ARGUMENT

                       A.      Exhibits A Through C Meet the Requirements of Fed. R. Evid. 201(b)

                       Exhibits A through C, which are archived copies of X Corp.’s publicly available webpages,

                are properly subject to judicial notice because their contents are not subject to reasonable dispute.

                See Kennedy v. Shell USA, Inc., 2024 WL 2863381, at *3 (E.D. La. June 6, 2024) (taking judicial

                notice of defendant’s website); Columbare v. Sw. Airlines, Co., 2023 WL 406439, at *4 (N.D. Tex.

                Jan. 10, 2023) (taking judicial notice of contract available on defendant’s website and collecting

                cases where “[c]ourts have taken judicial notice of publicly available information on a company’s

                official website”), report and recommendation adopted, 2023 WL 416548 (N.D. Tex. Jan. 25,




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                2023). That Exhibits A through C are archived webpages obtained from the Internet Archive’s

                Wayback Machine does not change the analysis because “[t]he ‘contents of webpages available

                through the Wayback Machine’ constitute ‘facts that can be accurately and readily determined

                from sources whose accuracy cannot reasonably be questioned.’” Thomas v. S.C. Dep’t of Mental

                Health, 2023 WL 3853432, at *3 (D.S.C. June 6, 2023) (quoting Valve Corp. v. Ironburg

                Inventions Ltd., 8 F.4th 1364, 1374 (Fed. Cir. 2021)); see also Yuksel v. Twitter, Inc., 2022 WL

                16784612, at *3 (N.D. Cal. Nov. 7, 2022) (taking judicial notice of archived webpages using the

                Wayback Machine); In re Facebook, Inc. Sec. Litig., 405 F. Supp. 3d 809, 829 (N.D. Cal. 2019)

                (courts “have routinely taken judicial notice of content from the Internet Archive’s Wayback

                Machine pursuant to [Rule 201]”).

                       Also, courts routinely take judicial notice of a company’s terms of service, such as Exhibits

                A through C. See Ross v. NavyArmy Cmty. Credit Union, 2022 WL 100110, at *2 (S.D. Tex. Jan.

                11, 2022) (taking judicial notice of PayPal’s terms and conditions); Yuksel, 2022 WL 16748612,

                at *2–3 (finding that Twitter’s Terms of Service (among other documents) were “properly subject

                to judicial notice because they are publicly available webpages and their contents are not subject

                to reasonable dispute”); Jones v. Twitter, Inc., 2020 WL 6263412, at *1 n.2 (D. Md. Oct. 23, 2020)

                (X Corp.’s “publicly available Terms of Service are subject to judicial notice.”).

                       Thus, it is appropriate for the Court to take judicial notice of Exhibits A through C under

                Federal Rule of Evidence 201(b) and consider them in deciding the Motion.

                       B.      Exhibits A Through C Meet the Requirements for Incorporation by Reference

                       In the alternative, the Court can and should consider Exhibits A through C pursuant to the

                doctrine of incorporation-by-reference doctrine. Under this doctrine, “[w]hen a defendant attaches

                documents to its motion that are referenced in the complaint and are central to the plaintiff’s claims




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                . . . the court can also properly consider those documents.” Inclusive Communities Project, Inc. v.

                Lincoln Prop. Co., 920 F.3d 890, 900 (5th Cir. 2019).

                       Exhibits A through C are central to Plaintiff’s claims. The Complaint alleges that unknown

                third parties (“Third-Party Does”) created Twitter1 accounts that impersonated Plaintiff, using

                content from Plaintiff’s account that starting in November 2023; that the Third-Party Does

                “obtained and altered content” from Plaintiff’s account that was “store[ed] on X Corp[.]’s

                systems”; and that such conduct was “in violation of Twitter’s terms of service.” Dkt. 3 ¶¶ 2, 22,

                68, 78. Plaintiff also alleges that, from February through July 2024, his Twitter account was

                suspended after one of his posts was reported for “for violating [X Corp.’s] rules”; that during the

                period his account was suspended, he was charged for premium services he did not receive; and

                that X Corp. “[c]onceal[ed] the true nature of its billing practices.” Id. ¶¶ 26, 30-31.

                       The Relevant TOS, which governs Plaintiff’s use of Twitter generally, and the Purchaser

                Terms, which governs his alleged subscription for premium services (including billing and

                cancellation), are directly referenced in and central to Plaintiff’s claims, and subject to

                incorporation by reference. See Gilani v. Univ. of Texas Sw. Med. Ctr., 2023 WL 2518811, at *1

                (N.D. Tex. Mar. 13, 2023) (“[A] district court may properly consider contracts or other documents

                that are not attached to the complaint, but are referenced within it and attached to a defendant's

                Rule 12(b)(6) motion.”); Partners & Friends Holding Corp. v. Cottonwood Mins. L.L.C., 653 F.

                Supp. 3d 344, 348 (N.D. Tex. 2023) (incorporating contract by reference into complaint and

                granting motion to dismiss), aff'd, 2023 WL 8649880 (5th Cir. Dec. 14, 2023); Moates v. Facebook

                Inc., 2024 WL 2853976, at *1 n.1 (N.D. Cal. Apr. 3, 2024) (“Because the Terms of Service form



                1
                 “Twitter” the social media platform has been rebranded as “X.” For ease of reference, this
                Request for Judicial Notice continues to refer to it as “Twitter” because the Complaint does so.




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                the basis of Plaintiff’s claims and is directly referenced within the [complaint], it is incorporated

                by reference.” (citation omitted)).

                IV.      CONCLUSION

                         For these reasons, X Corp. respectfully requests this Court take judicial notice of, or in the

                alternative incorporate by reference, Exhibits A through C attached to the Bennett Declaration,

                and consider them in deciding X Corp.’s Motion.

                    Dated: March 5, 2025                             Respectfully submitted,

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                                         CERTIFICATE OF SERVICE
                       I hereby certify that on March 5, 2025, I filed the foregoing document with
                the clerk of court for the United States District Court, Western District of Texas,
                Austin Division, using the Court’s CM/ECF filing system. I hereby certify that I
                have served all parties in the manner authorized by the Federal Rules of Civil
                Procedure, including those parties not registered for electronic filing.

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                                                                /s/ Norma N. Bennett




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